925 F.2d 1456Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Onely Lee CLYBURN, Petitioner-Appellant,v.Edward W. MURRAY, Attorney General of the Commonwealth ofVirginia, Lou Ann White, Respondents-Appellees.
    No. 90-6698.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 4, 1991.Decided Feb. 20, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, United States Magistrate Judge.  (CA-90-504-3)
      Onely Lee Clyburn, appellant pro se.
      Katherine Baldwin Toone, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      E.D.Va.
      DISMISSED.
      Before DONALD RUSSELL, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Onely Lee Clyburn seeks to appeal the magistrate judge's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.*   Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate judge.  Clyburn v. Murray, CA-90-504-3 (E.D.Va. Nov. 26, 1990).  We also deny Clyburn's motion for the appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         The parties consented to having this case presented to a magistrate judge, pursuant to 28 U.S.C. Sec. 636, with appeal directly to this Court
      
    
    